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                                                                      FILED: May 13, 2025

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                            No. 25-1519
                                       (8:19-cv-01944-SAG)
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        J.O.P.; M.A.L.C.; M.E.R.E.; K.A.R.C.; E.D.G.; L.M.Z., on behalf of themselves
        as individuals and on behalf of others similarly situated.

                     Plaintiffs - Appellees

        v.

        UNITED STATES DEPARTMENT OF HOMELAND SECURITY; UNITED
        STATES CITIZENSHIP AND IMMIGRATION SERVICES; KIKA SCOTT,
        Senior Official Performing the duties of the Director, U.S. Citizenship &
        Immigration Services; KRISTI NOEM, Secretary of Homeland Security; U. S.
        IMMIGRATION & CUSTOMS ENFORCEMENT; TODD LYONS, Acting
        Director US Immigration and Customs Enforcement

                     Defendants - Appellants

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                                           ORDER
                                      ___________________

               Upon consideration of the certificates of confidentiality, the court seals

        appellees’ response and appellants’ reply to the motion for stay.

                                               For the Court--By Direction

                                               /s/ Nwamaka Anowi, Clerk
